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AO 245D (CASO Rev. 1/19) Judgment in a Criminal Case for Revocations


                                    UNITED STATES DISTRICT Co
                                          SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA

                               V.
               EDWARDO HERNANDEZ (I)
                                                                        Case Number:        3:16-CR-02824-JLS

                                                                     Martha McNab Hall
                                                                     Defendant's Attorney
REGISTRATION NO.               59791298

•-
THE DEFENDANT:
C8:I admitted guilt to violation ofallegation(s) No.        1

D was found guilty in violation ofallegation(s) No.       - - - - - - ' - - - - - - a f t e r denial of guilty.
Accordin~ly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                 Nature of Violation

              I                   Failure to participate in drug aftercare program (nv21)




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.




                                                                '
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AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDANT:                EDWARDO HERNANDEZ (I)                                                    Judgment - Page 2 of 2
CASE NUMBER:              3: l 6-CR-02824-JLS

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 9MONTHS




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 D     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal. ·

 D     The defendant shall surrender to the United States Marshal for this district:
       •     at _ _ _ _ _ _ _ _ _ A.M.                        on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       •     as notified .by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:              ·
       •     on or before
       •     as notified by the United States Marshal.
       •     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
I have executed this judgment as follows:

       Defendant delivered on   _ _ _ _ _ _ _ _ _ _ _ _ _ to _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STATES MARSHAL




                                                                                                  3: l 6-CR-02824-JLS
